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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                  No. 4:07CR00338 JLH

KENNETH PATRICK KILLINGSWORTH
JOHNNIE CLEVELAND                                                              DEFENDANTS


                                           ORDER

       For reasons stated on the record during the pretrial hearing today, Johnnie Cleveland’s

motion to dismiss the indictment, in which Kenneth Patrick Killingsworth joined on the record at

the hearing, is DENIED. Document #31. The United States’ motion in limine regarding negotiated

plea discussions is DENIED. Document #35. The United States’ motion in limine regarding

punishment is GRANTED. Document #36. The defendants’ oral motion in limine to exclude

evidence that a gun was found during a search during which controlled substances were found is

DENIED.

       IT IS SO ORDERED this 9th day of October, 2008.




                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
